Case 8:14-cv-02213-MSS-TGW Document 12 Filed 02/12/15 Page 1 of 1 PageID 53



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


CYNTHIA WILSON

        Plaintiff,
                                                 Case Number 8:14-CV-2213-MSS-TGW


v.

ENHANCED RECOVERY COMPANY, LLC.

       Defendant.
___________________________/



                             PLAINTIFF’S NOTICE OF SETTLEMENT



        PLEASE TAKE NOTICE that, Defendant and Plaintiff have reached a resolution of this matter
and each party will bear their own attorney fees and costs. The parties ask that the Court retain
jurisdiction of this matter for 60 days for settlement/enforcement related matters only. At the conclusion
of the 60 days, if neither party brings any further matter before the Court, the parties request that the
matter be closed and that the case be dismissed with PREJUDICE.

DATED: February 12, 2015.

                                                                               __/s/W John Gadd______
                                                                                           W. John Gadd
                                                                                  FL Bar Number 463061
                                                                                     Attorney for Plaintiff


                                    CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a true and correct copy of the foregoing was served upon Defendant
              via its attorney at: SGALLAGHER@sgrlaw.com this 12th of February, 2015.

                                                                                       s/W. John Gadd
                                                                                           W. John Gadd
                                                                                 FL Bar Number 463061
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